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Rikers Island inmate recently in mental observation unit attacks
correction officer

BY BY REUVEN BLAU
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Last month, the de Blasio administration said it wanted to expand funding for mental health units similar to the one the alleged assailant spent time in before the Tuesday
attack, (SETH WENIG/AP)

A city inmate who spent time in the department's new speclalized unit for detainees with severe mental illness attacked a correction officer Tuesday, officials said.

Inmate Lloyd Revell, who is facing rape charges, punched city Correction Officer Francis Castro in the face, breaking his jaw, inside the Anna M, Kross Center on Rikers Island at
12:40 p.m., jail insiders said.

It is unclear what triggered the attack, It occurred inside a mental observation unit, department records show.

ALYSSA KATZ: DERANGED, DANGEROUS, DESERTED

Revell had spent time In the department's touted Clinical Alternative to Punitive Segregation (CAPS) unit, sources said.

The de Blasio administration announced late last month that it plans to triple funding for similar intenslve-care mental health units. The expansion an additional $8.7 million to
add staff for eight new Program to Accelerate Cllnical Effectiveness (PACE) units,

All told, de Blasio has added nearly $200 million to the department's budget for a host of changes.

But critics, including multiple health staffers, contend that's still not enough — and that many
inmates actually need to be hospitalized to get proper care

On Tuesday, union jail boss Norman Seabraok blasted the attack.

 

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Correction Officer Francis Cast’o's jaw was allegedly broken in the
attack by inmate Lloyd Revell. (HANDOUT)

"The Mayor put more than $100 million towards mental health initiatives and yet nothing is getting
better,” Seabrook sald in a statement. “We continue to see the city make excuses for inmates that
injure officers on a daily basis and no one seems focused on helping protect our brave men and women
patrolling the jails. It’s time this city focused on these violent inmates assaulting us and everyone else
in the jail system."

Revell was re-atrested shortly after the attack, said jail spokeswoman Eve Kessler.

She noted that assaults on staff were down across the board this fiscal year compared to last year.
"Commissioner (Joseph) Ponte has zero tolerance for assaults on staff,” she said.

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